           Case 1:23-cr-00139-BAH        Document 110        Filed 05/31/24     Page 1 of 39




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA

      v.                                             Case No. 23-cr-139-BAH-1

    CHRISTOPHER CARNELL,

       Defendant.

                       GOVERNMENT’S SENTENCING MEMORANDUM

           The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court depart or vary upwards to sentence Christopher Carnell to 18 months of incarceration, three

years of supervised release; $2,000 in restitution; a nominal fine; and a $180 mandatory special

assessment.

     I.       INTRODUCTION

           The defendant, Christopher Carnell was one of the few rioters who entered the Senate floor

during his participation in the January 6, 2021 attack on the United States Capitol. That violent

attack forced an interruption of the certification of the 2020 Electoral College vote count,

threatened the peaceful transfer of power after the 2020 Presidential election, injured more than

one hundred police officers, and resulted in more than 2.9 million dollars in losses.1


1
 As of July 7, 2023, the approximate losses suffered as a result of the siege at the United States
Capitol was $2,923,080.05. That amount reflects, among other things, damage to the United States
Capitol building and grounds and certain costs borne by the United States Capitol Police. The
Metropolitan Police Department (“MPD”) also suffered losses as a result of January 6, 2021, and
                                               1
      Case 1:23-cr-00139-BAH           Document 110        Filed 05/31/24      Page 2 of 39




       On January 6, 2021, Carnell, a college student, marched down Pennsylvania Avenue to the

U.S. Capitol building, climbed through scaffolding on the northwest side of the Capitol, and

unlawfully entered the Capitol through the Senate Wing Door at 2:23 p.m., fewer than 10 minutes

after it had been violently breached. Together with his friend and co-defendant, David Worth

Bowman, Carnell spent the next 33 minutes as part of the mob that laid siege to the Capitol. They

joined the crowd in the Crypt as it overwhelmed USCP officers who were trying to prevent the

rioters from entering further into the Capitol. They traveled into and through the Capitol Rotunda

and joined a crowd that amassed near the Rotunda Door as the door was violently breached. Carnell

and Bowman ascended the Rotunda Lobby East Stairs and observed other rioters physically

attacking a female journalist. Carnell chanted “TREASON, TREASON, TREASON” and then

pushed with the mob against officers defending that door. Then, at 2:49 p.m., they entered the

Senate Chamber–representing two of only around 70 rioters who invaded the Senate floor. While

they were on the Senate floor, Carnell discussed objections to the electoral college certification

with another rioter as that individual was rifling through papers on Senators’ desks.

       The government recommends that the Court sentence Carnell to 18 months of

incarceration. An 18-month sentence reflects the gravity of Carnell’s conduct, but also

acknowledges his admission of the facts supporting conviction in a stipulated trial, his youth at the

time of the offenses, and his lack of criminal history.




is also a victim. MPD recently submitted a total of approximately $629,056 in restitution amounts,
but the government has not yet included this number in our overall restitution summary ($2.9
million) as reflected in this memorandum. However, in consultation with individual MPD victim
officers, the government has sought restitution based on a case-by-case evaluation.
                                                 2
          Case 1:23-cr-00139-BAH        Document 110        Filed 05/31/24       Page 3 of 39




    II.        FACTUAL BACKGROUND

          A.     The January 6, 2021 Attack on the Capitol

          The government refers the court to the agreed Statement of Facts for Stipulated Trial filed

in this case, ECF No. 76-2 at 3-5, for a short summary of the January 6, 2021 attack on the United

States Capitol by hundreds of rioters, in an effort to disrupt the peaceful transfer of power after the

November 3, 2020 presidential election.

          B.     Carnell’s Role in the January 6, 2021 Attack on the Capitol

          Christopher Carnell lived in Cary, North Carolina. In the months and days leading up to

January 6, 2021, Carnell, his co-defendant, David Bowman, and other individuals, including Aiden

Henry Bilyard (collectively, the “group”),2 belonged to a text message chain that discussed politics

and election fraud, among other things. In or around November 9, 2020, the group began

discussing plans to go to Washington, D.C. for a “Stop the Steal”-related rally, the “Million

MAGA March,” which was set to take place on November 14, 2020. As the group discussed

logistics for their November trip to D.C., including whether there would be law enforcement

checkpoints set up along the route to D.C., the tenor of the chain turned to contemplated violence.

Although the group members later attempted to make light of the discussion, after one group

member said, “I’ll bring my unlicensed firearm[,]” Bowman responded by sending the following

two picture texts to the chain:




2
 Bilyard was convicted by plea agreement of violating 18 U.S.C. § 111(a)-(b) in United States v.
Bilyard, 22-cr-34 (RBW).
                                              3
          Case 1:23-cr-00139-BAH            Document 110         Filed 05/31/24       Page 4 of 39




    Images 1, 2: Picture text of Bowman (holding firearm) and picture text of photo of a number of firearms.

           Another group member then responded, “chris who is this,” to which Carnell said, “Good

man named David don’t worry about it[.]” When another member asked, “Are you planning on

bringing those?” Carnell responded, “No lmao3 it’s a joke[.]”

           Then, just over one month later, on December 21, 2020, Carnell sent a text message to the

group that forwarded a message from an individual identified as, “[Name Redacted], Stop the

Steal.” The message advertised an event planned for January 6, 2021 and stated:

           January 6th is going to be HISTORIC. It’s the day We the People will take to the
           steps of our nation’s Capitol and demand they represent us! It’s up to us to flood
           Washington D.C. with Patriots who will loudly tell Congress #DoNotCertify on
           #Jan6!

           Congress has ignored us for far too long, but what they cannot ignore is hundreds
           of thousands of Patriots rallying outside the halls of Congress. This will send the

3
    “LMAO” is an acronym used to abbreviate the phrase “laughing my ass off.”
                                               4
      Case 1:23-cr-00139-BAH           Document 110        Filed 05/31/24      Page 5 of 39




       message that we stand with Rep. Mo Brooks and his colleagues in the House of
       Representatives.

       On January 3, 2021, Carnell texted the group, “January 6 DC trip you guys coming? Me

and David are down, we should probably leave earlier this time like 4 am.” The “David” referenced

is co-defendant David Worth Bowman.

       During the early morning of January 6, 2021, Carnell traveled from North Carolina to

Washington, D.C. with Bowman in order to attend a rally at the Ellipse that featured speeches from

individuals including former President Donald Trump.




Image 3: Bowman (wearing sunglasses) and Carnell (wearing red baseball cap) at “Stop the Steal” Rally

       After attending the rally, Carnell and Bowman walked down Pennsylvania Avenue toward

the Capitol.




                                                 5
      Case 1:23-cr-00139-BAH         Document 110        Filed 05/31/24     Page 6 of 39




          Image 4: Bowman (circled in blue) and Carnell (circled in yellow) marching
                                down Pennsylvania Avenue.

       Carnell and Bowman then proceeded to enter the restricted area on Capitol Grounds shortly

after officers on the northwest stairs were overwhelmed by the violent mob and forced to retreat

up to the steps. Carnell and Bowman then climbed through ripped and tattered scaffolding on the

northwest side of the Capitol, as other rioters were visibly climbing on and hanging from it. The

scaffolding had been erected for the upcoming inauguration of President Joseph R. Biden, Jr.




                                               6
      Case 1:23-cr-00139-BAH         Document 110       Filed 05/31/24    Page 7 of 39




   Image 5: Bowman (wearing grey hoodie) and Carnell (wearing red baseball cap) climbing
              through scaffolding toward Northwest Terrace of Capitol grounds.

       Carnell and Bowman walked across the Northwest Courtyard toward the Senate Wing

Door. As they walked, a group of uniformed officers were visibly protecting another entry point

into the Capitol Building, the Parliamentarian Door.




  Image 6: Bowman (left) and Carnell (right), circled in red, proceeding toward Senate Wing
           Door, as officers (circled in green) protect Parliamentarian Door area.



                                                7
      Case 1:23-cr-00139-BAH          Document 110        Filed 05/31/24     Page 8 of 39




       The Capitol Building was within the restricted area on January 6, 2021. Carnell and

Bowman entered the Capitol without lawful authority through the Senate Wing Door at

approximately 2:23 p.m.




      Image 7: Bowman (circled in blue) and Carnell (circled in yellow) enter the Capitol.

       Fewer than ten minutes earlier, other rioters had smashed in the windows flanking the

Senate Wing Doors, rendering the windows visibly shattered. In addition, the Building’s alarm

system was audibly blaring as Carnell and Bowman entered the Building.

       Carnell and Bowman proceeded to the Crypt area of the Capitol. They joined the crowd as

it overwhelmed the USCP officers who were attempting to prevent the rioters from entering further

into the Capitol. Carnell took videos or photographs of the scene with his cell phone.




                                                8
      Case 1:23-cr-00139-BAH          Document 110         Filed 05/31/24      Page 9 of 39




Image 8: Bowman (wearing sunglasses) and Carnell (wearing red baseball cap) in the Crypt

       Testifying in the trial of another participant in the events of January 6, 2021 riot, one USCP

Lieutenant who was present for the confrontation in the Crypt described his experience as follows:

       Q.      And what happened when you got into the crypt?
       A.      Rioters already entered the building on the Senate side and were on the
               hallway on the – the north hallway coming towards the Crypt.
       Q.      Did you try to stop rioters in that location?
       A.      Yes. As they came down the hallway . . . we formed a police line, me and
               the other officers that were there formed a police line in the crypt to try to
               keep them from going any further.
               ...
               There was a lot of yelling, screaming. Things were thrown at us. Eventually
               the mob pushed through the line, pushed people back. I was pushed into the
               hall and crushed into the wall to the point I couldn’t breathe.
       Q.      Were you scared?
       A.      Yes.



                                                 9
       Case 1:23-cr-00139-BAH          Document 110       Filed 05/31/24      Page 10 of 39




         Q.      What was going through your mind at that point?
         A.      That my kids would be growing up without me.4

         Carnell and Bowman then traveled into and through the Capitol Rotunda and joined a

crowd as it amassed near the Rotunda Door. Carnell chanted “TREASON, TREASON,

TREASON,” while Bowman stood nearby.




      Image 9: Bowman (wearing sunglasses) and Carnell (wearing red baseball cap) during
                          “treason” chant near the Rotunda Door.


         At 2:38 p.m., Carnell stepped forward and pushed with the mob from the inside of the East

Rotunda doors in an attempt to assist other rioters regain entry to the Capitol after uniformed USCP

officers had forced the doors shut. Carnell pushed for a moment, stood back and cheered once the




4
    See United States v. Carpenter, 21-cr-305 (JEB), Trial Tr. at 190:19-191:2, 192:23-193:9.
                                                 10
     Case 1:23-cr-00139-BAH             Document 110   Filed 05/31/24    Page 11 of 39




doors were re-breached, then stepped in again to keep pushing. He stopped pushing once the mob

successfully burst through the doors.




                                               11
        Case 1:23-cr-00139-BAH         Document 110        Filed 05/31/24      Page 12 of 39




     Images 10, 11, 12 (Zoomed in): Carnell (wearing red baseball cap, circled in yellow) pushes
                            near the East Rotunda Door as it is overrun.

          Carnell and Bowman then ascended the Rotunda Lobby East Stairs at 2:41 p.m. They

observed other rioters physically attacking a female journalist at the top of the staircase.5




55
   Carnell’s co-defendant, Bowman, admitted to seeing and being disturbed by this violent
altercation in his voluntary interview with the FBI. Because the two defendants were lockstep
throughout their day, including climbing this set of stairs together, the Court can safely assume
that Carnell, too, witnessed the same assault.
                                               12
     Case 1:23-cr-00139-BAH           Document 110         Filed 05/31/24     Page 13 of 39




   Images 13, 14, 15: Bowman (wearing sunglasses) and Carnell (wearing red baseball cap)
                          ascending Rotunda Lobby East Stairs.

       Carnell and Bowman entered the Senate Chamber and walked onto the Senate floor at 2:49

p.m. While entering the Senate floor, one rioter loudly explained that the “chair” on the Senate

dais “belongs to the Vice President of United States when he’s in here,” and another rioter

responded, “they can steal our election but we can’t sit in their chairs?!”




                                                 13
     Case 1:23-cr-00139-BAH          Document 110        Filed 05/31/24      Page 14 of 39




       Image 16: Bowman (wearing sunglasses) and Carnell (wearing red baseball cap)
                          entering the Senate floor at 2:49 p.m.

       Carnell then looked over the shoulder of a man in a green combat helmet as that individual

was rummaging through documents on a Senator’s desk. In an ensuing conversation, the individual

with the green combat helmet stated, with regard to documents associated with Senator Ted Cruz,

“He was gonna sell us out all along – look! ‘Objection to counting the electoral votes of the state

of Arizona.’” Carnell then responded, “Wait, no. That’s a good thing. He’s on our side. He’s with

us. He’s with us.”




                                                14
     Case 1:23-cr-00139-BAH            Document 110       Filed 05/31/24     Page 15 of 39




Image 17: Bowman (circled in blue) and Carnell (circled in yellow) during discussion of Senator
               Cruz’s objection to certification of Arizona’s electoral votes.

          At or around 2:55 p.m., Carnell and Bowman left the Senate Chamber. They were directed

to exit the Capitol by uniformed law enforcement officers, and left the Capitol through the Senate

Carriage Door at 2:56 p.m. At 4:19 p.m., Carnell sent a text message to the group, that stated,

“We’re safe heading home.”

   III.      THE CHARGES AND STIPULATED TRIAL

          On April 26, 2023, a federal grand jury returned an indictment charging Carnell with six

counts: Obstruction of an Official Proceeding, in violation of 18 U.S.C. § 1512(c)(2) (Count One);

Entering and Remaining in a Restricted Building, in violation of 18 U.S.C. § 1752(a)(1) (Count

Two); Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation of 18

U.S.C. § 1752(a)(2) (Count Three); Entering and Remaining on the Floor of Congress, in violation


                                                 15
     Case 1:23-cr-00139-BAH             Document 110       Filed 05/31/24      Page 16 of 39




of 40 U.S.C. § 5104(e)(2)(A) (Count Four); Disorderly Conduct in a Capitol Building, in violation

of 40 U.S.C. § 5104(e)(2)(D) (Count Five); and Parading, Demonstrating, or Picketing in a Capitol

Building, in violation of 40 U.S.C. § 5104(e)(2)(G) (Count Six). See ECF No. 22.

          On February 12, 2024, Carnell was convicted of those offenses as the result of a stipulated

trial. He admitted an extensive factual basis that supported his conviction. See ECF Entry, 2/12/24.

    IV.      STATUTORY PENALTIES

          Carnell now faces sentencing on all six counts in his Indictment. As noted by the

Presentence Report issued by the U.S. Probation Office, the statutory maximum term of

imprisonment is 20 years on Count One; one year each on Counts Two and Three; and six months

each on Counts Four, Five, and Six. PSI ¶¶ 108-11.

          The maximum term of supervised release is three years for Count One and one year for

Counts Two and Three. PSI ¶¶ 117-18. The maximum fine is $250,000 for Count One; $100,000

for Counts Two and Three; and $5,000 for Counts Four through Six. PSI ¶¶ 136-38. Mandatory

special assessments total $180. PSI ¶¶ 139-41.

    V.       THE SENTENCING GUIDELINES AND GUIDELINES ANALYSIS

          As the Supreme Court has instructed, the Court “should begin all sentencing proceedings

by correctly calculating the applicable Guidelines range.” United States v. Gall, 552 U.S. 38, 49

(2007). The government concurs with the U.S. Probation Office’s assessment of the appropriate

offense level and guideline that applies to Carnell’s violation of 18 U.S.C. § 1512(c)(2),6 which



6
  The PSI does not include a Guidelines analysis for all Counts to which Carnell was convicted.
See PSI ¶¶ 47-60. Sections 1B.1(a)(1)-(3) describe the steps a sentencing court must follow to
determine the Guidelines range, which include determining the applicable Guideline, determining
                                              16
        Case 1:23-cr-00139-BAH        Document 110          Filed 05/31/24    Page 17 of 39




matches the calculation provided by the United States.7 See ECF No. 86. However, as described

further below, the United States objects to Probation’s application of U.S.S.G. § 4C1.1(a), which

decreased defendant Carnell’s offense level by two levels. See PSI ¶¶ 59, 60, 111. Accordingly,

the United States submits that the correct total offense level for paragraph 60 of the PSI should be

14 before acceptance of responsibility. The United States’ proposed Guidelines analysis for each

Count of conviction follows:

         A. Guidelines Analysis for Each Count

Count One: 18 U.S.C. §§ 1512(c)(2) and 2—Obstruction of an Official Proceeding and Aiding
and Abetting

         The Statutory Appendix lists one guideline for a Section 1512(c) offense, U.S.S.G. § 2J1.2

(Obstruction of Justice).


    Base Offense Level:     14        U.S.S.G. § 2J1.2(a)
    Total                   14




the base offense level, applying appropriate special offense characteristics, and applying any
applicable Chapter 3 adjustments. Under U.S.S.G. § 1B1.1(a)(4), the applicable Guidelines
analysis as set out in U.S.S.G. § 1B1.1(a)(1)-(3) must be “repeat[ed]” for “each count.” Only after
the Guidelines analysis as set out in U.S.S.G. § 1B1.1(a)(1)-(3) is performed, is it appropriate to
“[a]pply” the grouping analysis as set out in Chapter 3. The PSI does not follow these steps. It
concludes (see PSI ¶ 56) that Counts One, Two, and Three group—a conclusion with which the
government agrees—but does not set forth the Guidelines calculation separated for each count as
required under U.S.S.G. § 1B1.1(a)(4).
7
  The government notes the D.C. Circuit recently decided United States v. Brock, No. 23-3045,
2024 WL 875795 (D.C. Cir. Mar. 1, 2024), which held that the term “administration of justice,”
as used in U.S.S.G. § 2J1.2, does not apply to Congress’ certification of electoral college votes.
See id. at *8. However, as described below, departures, such as those under Chapter 5, Part K, may
nonetheless be appropriate, or a variance from the applicable guidelines range may be warranted.
                                                17
      Case 1:23-cr-00139-BAH          Document 110        Filed 05/31/24      Page 18 of 39




Count Two: 18 U.S.C. § 1752(a)(1)—Entering or Remaining in a Restricted Building or
Grounds

       The Statutory Appendix lists two potentially applicable guidelines for a Section 1752

offense, U.S.S.G. § 2A2.4 (Obstructing or Impeding Officers) and § 2B2.3 (Trespass). The

Introduction to the Appendix states that, if “more than one guideline is referenced for a particular

statute, use the guideline most appropriate for offense conduct.” Here, U.S.S.G. § 2B2.3, which

applies to trespass offenses, is the most appropriate guideline for 18 U.S.C. § 1752(a)(1), which is

essentially a trespass offense.


 Base Offense Level:       4         U.S.S.G. § 2B2.3(a) (trespass)
 Specific Offense          +2        U.S.S.G. § 2B2.3(b)(1)(A)(vii): the trespass occurred “at
 Characteristic                      any restricted buildings or grounds.” On January 6, 2021,
                                     the U.S. Capitol and its grounds were restricted because
                                     protectees of the United States Secret Service were visiting.
                                     See 18 U.S.C. § 1752(c)(1)(B).
 Cross-Reference                     U.S.S.G. § 2B2.3(c)(1): “If the offense was committed
                                     with the intent to commit a felony offense, apply § 2X1.1
                                     (Attempt, Solicitation, or Conspiracy) in respect to that
                                     felony offense, if the resulting offense level is greater than
                                     that determined above.”

                                     As described above, Carnell entered the restricted area of
                                     the Capitol building for the purpose of obstructing the
                                     official proceeding, in violation of 18 U.S.C. § 1512(c)(2).
 Base Offense Level        14        U.S.S.G. § 2X1.1(a): “The base offense level from the
 (adjusted)                (from     guideline for the substantive offense, plus any adjustments
                           Count     from such guideline for any intended offense conduct that
                           One)      can be established with reasonable certainty.”

                                     As described above, Carnell entered the restricted area of the
                                     Capitol building for the purpose of obstructing the official
                                     proceeding, in violation of 18 U.S.C. § 1512(c)(2), thus the




                                                18
     Case 1:23-cr-00139-BAH            Document 110       Filed 05/31/24      Page 19 of 39




                                      substantive offense is Count One and the § 2J1.2 guideline
                                      should be used.


 Total                      14

Count Three: 18 U.S.C. § 1752(a)(2)—Disorderly or Disruptive Conduct in a Restricted
Building or Grounds

         The Statutory Appendix lists two potentially applicable guidelines provisions for a Section

1752 offense: U.S.S.G. § 2A2.4 (Obstructing or Impeding Officers) and U.S.S.G. § 2B2.3

(Trespass). The Introduction to the Appendix states that, if “more than one guideline is referenced

for a particular statute, use the guideline most appropriate for offense conduct.” Here, U.S.S.G.

§ 2A2.4, which applies to impeding officers, is the most appropriate guideline for 18 U.S.C.

§ 1752(a)(2), which prohibits “disorderly or disruptive conduct” and involves more than mere

trespass (making § 2B2.3 an inappropriate guideline for the offense conduct).

 Base Offense Level:        10       U.S.S.G. § 2A2.4(a) (Obstructing or Impeding Officers)
 Total                      10

Counts Four through Six: 40 U.S.C. §§ 5104(e)(2)(A), (D) and (G)—Entering and Remaining
on the Floor of Congress, Disorderly or Disruptive Conduct in a Capitol Building and
Parading, Demonstrating, or Picketing in a Capitol Building

         Because these offenses are Class B misdemeanors, the Guidelines do not apply to them.

See 40 U.S.C. § 5109(b); 18 U.S.C. § 3559(a)(7); U.S.S.G. § 1B1.9.

         B. Grouping Analysis

         Under U.S.S.G. § 3D1.2, “All counts involving substantially the same harm shall be

grouped together into a single Group. Counts involve substantially the same harm within the

meaning of this rule: (a) When counts involve the same victim and the same act or transaction …


                                                 19
      Case 1:23-cr-00139-BAH            Document 110         Filed 05/31/24       Page 20 of 39




[or] (c) When one of the counts embodies conduct that is treated as a specific offense characteristic

in, or other adjustment to, the guideline appliable to another of the counts.” The government agrees

with the U.S. Probation Office that Carnell’s counts of conviction should be placed into one group.

PSI ¶ 51.

        C. Application of § 4C1.1

        Amendment 821 to the Sentencing Guidelines, effective November 1, 2023, created a new

guideline, U.S.S.G. § 4C1.1. Section 4C1.1 provides for a two-level decrease in the offense level

for offenders who have no criminal history points and who meet certain additional criteria. Section

4C1.1 will be in effect at the time of sentencing in this matter, but was not considered at the time

the government estimated the Guidelines range that applies to this case. See ECF No. 86.

        Individuals who “used violence or credible threats of violence in connection with the

offense” are ineligible for such a reduction. See U.S.S.G. § 4C1.1(3). “Neither § 4C1.1 nor other

provisions in the Guidelines define the terms ‘use violence’ or ‘use . . . credible threats of violence[,

a]nd the D.C. Circuit has not interpreted these terms as used here.” United States v. Yang, 23-cr-

100 (JDB), 2024 WL 519962, at *3 (D.D.C. Feb. 9, 2024). Accordingly, judges in this District

have looked to the plain meaning of the terms at the time of enactment in order to determine

whether the limitation of § 4C1.1(3) applies. Id. at *3-*4; see also United States v. Bauer, 21-cr-

386-2 (TNM), 2024 WL 324234, at *3 (D.D.C. Jan. 29, 2024). As Judge Bates explained,

        Contemporary dictionaries define “violence” as “the use of physical force, usually
        accompanied by fury, vehemence, or outrage; especially, physical force unlawfully
        exercised with the intent to harm,” or as “the use of physical force so as to injure,
        abuse, damage, or destroy,” . . . . These definitions draw additional support from
        case law interpreting “violence” in similar contexts.

Yang, 2024 WL 519962, at *4 (cleaned up) (citations omitted). Judge Cooper has concluded that
                                             20
      Case 1:23-cr-00139-BAH            Document 110         Filed 05/31/24       Page 21 of 39




the government must establish that the defendant personally “used violence or credible threats of

violence” on January 6, 2021, to bar the two-level downward adjustment of § 4C1.1(3). United

States v. Strand, 21-cr-85 (CRC), ECF No. 150 at 4 (citations omitted).

        Here, as reflected in paragraph 29 of the PSI, “Defendant Carnell pushed with the mob

against the officers.” PSI ¶ 29; see also Stip. Trial Ex. 17.2. Thus, Carnell’s intent to “injure, abuse,

damage, or destroy” is established by a totality of the circumstances under a preponderance

standard. See generally Sentc’g Tr. in United States v. Andrulonis, 23-cr-85 (BAH). Indeed,

Carnell’s conduct is similar to that of the defendant in United States v. Kepley, 23-cr-162 (BAH),

where this Court found that Kepley’s presence in the lower west tunnel area, where he participated

in the “heave-ho” push against officers, constituted a “credible threat of violence” against those

officers under Section 4C1.1(a)(3). Carnell’s conduct is distinguishable from that of Tyng Jing

Yang, who, Judge Bates determined, did not use violence or credibly threaten violence because

“[t]he two instances in which he made physical contact with officers were brief and reactive” and

his body language was “overtly nonconfrontational, with his hands raised in the air.” Yang, 2024

WL 519962 at *4.

        If the Court determines that Section 4C1.1 applies to Carnell, the Court still should vary

upward by two levels. An upward variance is necessary because Carnell’s conduct was

aggravating, particularly within a violent attack that threatened the lives of legislators and their

staff, interrupted of the certification of the 2020 Electoral College vote count, did irrevocable harm

to our nation’s tradition of the peaceful transfer of power, caused more than $2.9 million in losses,

and injured more than one hundred police officers. Every rioter, whether or not they personally


                                                   21
     Case 1:23-cr-00139-BAH          Document 110         Filed 05/31/24     Page 22 of 39




engaged in violence or personally threatened violence, contributed to this harm. See, e.g., United

States v. Rivera, 21-cr-60 (CKK), ECF No. 62 at 13 (“Just as heavy rains cause a flood in a field,

each individual raindrop itself contributes to that flood. Only when all of the floodwaters subside

is order restored to the field. The same idea applies in these circumstances. Many rioters

collectively disrupted congressional proceedings and each individual rioters contributed to that

disruption. Because [the defendant’s] presence and conduct in part caused the continued

interruption to Congressional proceedings, the court concludes that [the defendant] in fact impeded

or disrupted the orderly conduct of Government business or official functions”). And Carnell did

more, pushing with the mob at the Rotunda Door. Thus the defendant’s conduct caused a

significant disruption to a vital governmental function, warranting an upward variance. See United

States v. Eicher, No. 22-cr-038 (BAH), Sentc’g Tr. at 48 (“An upward departure under Section

5K2.7 of two offense levels is warranted to account for the nature and extent of the disruption and

the importance of the governmental function affected”).

       Although the government requests that the Court find Section 4C1.1 inapplicable to

Carnell, we request that the Court make clear at sentencing that it would have imposed the same

sentence regardless of whether § 4C1.1 applies.8




8
  U.S.S.G. Section 5C1.1 has also been amended with a new application note providing that if a
defendant receives an offense level reduction under § 4C1.1 and either their applicable guideline
range is in Zone A or B of the Sentencing Table, or the guideline range overstates the seriousness
of the offense, imprisonment may not be appropriate. See U.S.S.G. § 5C1.1, comment. n. 10. The
government submits that for the same reasons that § 4C1.1 should not be applied in this case, a
sentence of imprisonment is appropriate notwithstanding Application Note 10 to § 5C1.1.

                                                22
     Case 1:23-cr-00139-BAH           Document 110        Filed 05/31/24      Page 23 of 39




       D. Estimated Guideline Range

       The U.S. Probation Office calculated Carnell’s criminal history as category I, which is not

disputed. PSI ¶ 63. Accordingly, based on the government’s calculation of Carnell’s total adjusted

offense level, after acceptance of responsibility, at 12, Carnell’s Guidelines imprisonment range is

10 to 16 months’ imprisonment.

       E. Upward Departure or Variance9

       The government requests that the Court depart or vary to reflect Carnell’s obstruction of

the electoral college certification proceedings.

       After determining the defendant’s Guidelines range, a court considers any departures or

variances. See U.S.S.G. § 1B1.1(a)-(c). Following Brock, the enhancements under U.S.S.G.

§§ 2J1.2(b)(1)(B) and (b)(2) no longer apply. But that decision does not undercut the severity of

Carnell’s crime – invading the Capitol in an attempt to stop Congress from certifying the election.

See Brock, 2024 WL 875795, at *15 (“interference with one stage of the electoral college vote-

counting process . . . no doubt endanger[ed] our democratic processes and temporarily derail[ed]

Congress’s constitutional work”). In order to impose a just and fair sentence in this case, the Court

should either (1) impose an upward departure pursuant to U.S.S.G. § 5K2.7, resulting in a




9
  Carnell has indicated that he seeks a downward departure under U.S.S.G. § 5H1.1 on the basis
that he was 18 years old at the time of his criminal conduct. However, that adjustment applies only
where “considerations based on age, individually or in combination with other offender
characteristics, are present to an unusual degree and distinguish the case from the typical cases
covered by the guidelines.” U.S.S.G. § 5H1.1. Traditionally, age has been a “discouraged” factor,
because it is not normally relevant to the determination of whether a sentence should be outside
the applicable Guideline range. Koon v. United States, 518 U.S. 81, 95 (1996).

                                                   23
     Case 1:23-cr-00139-BAH          Document 110         Filed 05/31/24      Page 24 of 39




Guidelines range of 18 to 24 months’ imprisonment, or (2) vary upwards to sentence Carnell to 18

months’ imprisonment, above his current Guidelines range but still within the pre-Brock

Guidelines range.10

       Prior to the D.C. Circuit’s ruling in Brock, this Court found that the offense characteristic

set forth in Section 2J1.2 covered congressional proceedings, and that the actions of individuals

who obstructed the certification on January 6, 2021 “sit firmly in the category of serious offense

conduct which the Sentencing Commission determined merited greater punishment.” United

States v. Rubenacker, 21-cr-193 (BAH), Sentc’g Tr. 5/26/22 at 79. However, the Court stated that

it would have applied a corresponding variance or departure if Section 2J1.2 did not cover

congressional proceedings. The Court explained,

       Where conduct significantly differs from the norm, the Court is not limited by what
       is provided in the guidelines but may, in such unusual cases, impose a sentence
       outside the recommended sentencing range. And what happened on January 6,
       2021, was outside the norm and outside the heartland of cases – in fact, the first
       time in our history where the peaceful transition of power to a new administration
       was disrupted by mob action attacking the Capitol.

       So even if defendant were correct … that the SOCs in the guideline 2J1.2 did not
       cover congressional proceedings, these SOCs capture specific harms warranting an
       increase in sentence severity, like causing or threatening physical harm to another
       person or so interfering with a proceeding as to result in the unexpected expenditure
       of substantial government resources; and those specific harms may, by analogy,
       apply equally to the offense conduct that occurred against our legislative branch of
       government on January 6, 2021, and warrant corresponding increases in the severity
       of the sentence by way of a departure or a variance.



10
   Applying the enhancement in U.S.S.G. § 2J1.2(b)(2) to the instant case would result in a total
offense level of 17. After acceptance of responsibility pursuant to § 3E1.1(a), the offense level
would be decreased two levels and would be 15. Accordingly, the pre-Brock Guidelines range
would have been 18-24 imprisonment.
                                                24
      Case 1:23-cr-00139-BAH          Document 110        Filed 05/31/24      Page 25 of 39




Id. at 80-81.

       A “district court’s authority to impose a departure emanates from 18 U.S.C. § 3553(b)(1)

and, in turn, in Chapter 5, Part K of the Guidelines.” United States v. Jacobs, 635 F.3d 778, 781-

82 (5th Cir. 2011). This part of the Guidelines “identifies some of the circumstances that the

Commission may have not adequately taken into consideration in determining the applicable

guideline range,” which may warrant a departure. U.S.S.G. § 5K2.0(a)(2)(A).

       One such circumstance is when an offense results in “a significant disruption of a

governmental function.” U.S.S.G. § 5K2.7. 11 A departure under this guideline is warranted in

“unusual” circumstances where the Guidelines do not reflect the appropriate punishment for the

offense. Id. In such circumstances, “the court may increase the sentence above the authorized

guideline range to [1] reflect the nature and extent of the disruption and [2] the importance of the

governmental function affected.”

       Although the general rule is that Section 5K2.7 does not provide for an upward departure

when the offense involves obstruction of justice, the obstruction of the Electoral College

certification on January 6, 2021 is the exact type of unusual circumstance that the Sentencing

Commission could not have predicted and that warrants an upward departure. Those who

obstructed the administration of justice that day targeted the peaceful transfer of power, one of the

fundamental and foundational principles of our democracy. They were part of a mob that injured

more than one hundred police officers and resulted in more than 2.9 million dollars in losses.


11
   This guideline does not require the government to establish a direct link between the defendant’s
misconduct and the alleged disruption, nor does it “require that the disruption be of any particular
type or consequence.” See United States v. Saani, 650 F.3d 761, 765-66, 771 (D.C. Cir. 2011).
                                                 25
     Case 1:23-cr-00139-BAH           Document 110        Filed 05/31/24      Page 26 of 39




Defendants like Carnell “endanger[ed] our democratic processes and temporarily derail[ed]

Congress’s constitutional work.” Brock, 2024 WL 875795, at *15. It was an unprecedented day in

American history. But, following Brock, the seriousness of the crimes committed for defendants

like Carnell is not adequately captured by the applicable Guideline, Section 2J1.2, because the

Sentencing Commission did not contemplate that an event like January 6 could happen when it

wrote the Guidelines. This Court has already applied Section 5K2.7 in a January 6 case. See United

States v. Eicher, 22-cr-38 (BAH), Sentc’g Tr. 9/15/23 at 50 (applying Section 5K2.7 because the

defendant “join[ed] a mob, in the center of the melee, and through the sheer numbers and

aggressive conduct towards police, breached the Capitol resulting in stopping the legitimate

business of Congress for hours”).

       If the Court decides not to apply Section 5K2.7, an upward variance is warranted to achieve

an appropriate sentence under the Section 3553(a) sentencing factors. An upward variance is

appropriate when “the defendant’s conduct was more harmful or egregious than the typical case

represented by the relevant Sentencing Guidelines range.” United States v. Murray, 897 F.3d 298,

308-09 (D.C. Cir. 2018) (cleaned up).

       Here, as the Court explained in Rubenacker, an upward variance is warranted to account

for the unique nature and circumstances of the offense and to reflect the seriousness of the offense.

As just discussed, Carnell’s obstruction of justice on January 6 was a serious offense that attacked

the fundamentals of American democracy. The only reason that Carnell is not subject to additional

levels’ worth of enhancements in § 2J1.2 is because the Sentencing Commission did not imagine

that a day like January 6 could occur. As Judge McFadden stated in a pre-Brock sentencing


                                                 26
     Case 1:23-cr-00139-BAH          Document 110        Filed 05/31/24      Page 27 of 39




hearing:

       Regardless of whether the ‘administration of justice’ language actually applies to
       this situation, I have no doubt that the Commission would have intended for this to
       apply to substantial interference with an official proceeding like a certification
       process, which is itself more significant than almost any court proceeding… [Y]ou
       and your fellow rioters were responsible for substantially interfering with the
       certification, causing a multiple-hour delay, numerous law enforcement injuries
       and the expenditure of extensive resources.

United States v. Hale-Cusanelli, 21-cr-37 (TNM), Sentc’g Tr. 9/22/22 at 86-87 (emphasis added).

       In the specific facts and circumstances of Carnell’s case (discussed in more detail below),

an upward variance to 18 months’ incarceration is appropriate. See United States v. Reffitt, 21-cr-

87 (DLF), Mem. Op. and Order 4/10/24 at 10-11 (upward variance would be justified because “as

other judges in this district have noted, the proceedings at issue on January 6, 2021 were of much

greater significance than run-of-the-mill ‘judicial, quasi-judicial, and adjunct investigative

proceedings’); United States v. Fonticoba, 21-cr-368 (TJK), Sentc’g Tr. 1/11/24 at 66-67 (stating

that, even if the defendant’s § 1512 conviction were invalidated, a significant upward variance was

warranted to account for the defendant’s intent “to obstruct the proceeding and the nature of the

proceeding itself”); Fonticoba, 4/11/2024 Mem. Order at 4-5 (denying motion for release pending

appeal and agreeing that certification proceeding was “far more important” than “any run-of-the-

mill” judicial or quasi-judicial proceeding); see also United States v. John Sullivan, 21-cr-78

(RCL) (May 1, 2024 Sentc’g) (transcript not yet available) (finding post-Brock guidelines did not

fully encompass the sentence warranted where the defendant was an agent of chaos and hid behind

the “protective veneer” of journalism, among other things). Accordingly, the government requests

that the Court vary or depart upwards and sentence Carnell to 18 months’ imprisonment, in order


                                                27
     Case 1:23-cr-00139-BAH            Document 110        Filed 05/31/24     Page 28 of 39




to give effect to “the concerns underlying the Government’s requests for these enhancements under

the § 3553(a) factors at sentencing.” See United States v. Seefried, 639 F. Supp. 3d 8, 20 (D.D.C.

2022).

   VI.        SENTENCING FACTORS UNDER 18 U.S.C. § 3553(a)

         Sentencing is guided by 18 U.S.C. § 3553(a). The Section 3553(a) factors weigh in favor

of a term of incarceration of 18 months.

         A.     Nature and Circumstances of the Offense

         As discussed in Section II(B) of this memorandum, Carnell’s felonious conduct on January

6, 2021 was part of a massive riot that almost succeeded in preventing the certification vote from

being carried out, frustrating the peaceful transition of Presidential power, and throwing the United

States into a Constitutional crisis. On January 6, 2021, Carnell was no mere spectator; in fact, he

was an enthusiastic part of the mob that entered the Capitol within the first ten minutes of its

breach, overwhelmed officers in the Crypt and at the Rotunda Door (himself pushing against the

mob), and observed an assault on a journalist. He was one of the few rioters who breached the

Senate Chamber and occupied the floor. As this Court has previously explained in sentencing two

other defendants who entered the Senate floor:

         These are not defendants who simply walked in, walked around, and walked out of
         the Capitol Building during their 25 minutes unlawfully inside the Capitol Building.
         This really underestimates and understates the seriousness of the offense conduct
         to my mind. They are among the very few rioters who went and breached the Senate
         Chamber. And they didn’t just walk into the Senate Chamber, see a “members only”
         sign, turn around and walk out. You can see on the videotapes, even in this case,
         that there were some people who went in and went: Whoa, look where we are, oh,
         my goodness, then turned around and walked out. Not these defendants.

         They walked in, and they spent some time there. They walked all around the Senate
         Chamber. They looked through papers on the Senate Chamber floor. This … is one
                                                28
      Case 1:23-cr-00139-BAH           Document 110       Filed 05/31/24      Page 29 of 39




       of the more sensitive spaces in the Capitol. This differentiates their offense conduct
       from 90 percent of the defendants connected to the January 6 riot at the U.S.
       Capitol.

United States v. Bender, No. 21-cr-508 (BAH), Sentc’g Tr. 4/20/23 at 104-05. “[L]ess than an hour

before the defendants and others had barged into the Senate Chamber, senators were in that very

room certifying the 2020 presidential election.” Id. at 107. The nature and circumstances of

Carnell’s offenses thus were of the utmost seriousness, and fully support the government’s

recommended sentence of 18 months’ imprisonment.

       B. The History and Characteristics of the Defendant

       The defendant is a college student. He has no reported arrests and no criminal convictions

prior to this case. Although his young age and lack of criminal history may be considered as

mitigating factors under Section 3553(a), they are somewhat counterbalanced by the defendant’s

susceptibility to peer pressure or radicalization.

       C.      The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
               and Promote Respect for the Law

       As with the nature and circumstances of the offense, this factor supports a sentence of

incarceration. Carnell’s criminal conduct on January 6 was the epitome of disrespect for the law.

As the Court explained in sentencing Luke Bender and Landon Mitchell, who also invaded the

Senate floor on January 6, 2021:

       To promote respect for the law, that’s a good reminder here, too, because this was
       not just any, you know, obstruction of any proceeding, this was a constitutionally
       mandated one. So interrupting this was not just respect for local municipal
       ordinance, this is for a constitutional requirement for a democracy.

United States v. Bender, 21-cr-508 (BAH), Sentc’g Tr. 4/20/23 at 102.


                                                     29
       Case 1:23-cr-00139-BAH          Document 110         Filed 05/31/24      Page 30 of 39




         D.      The Need for the Sentence to Afford Adequate Deterrence

         A significant sentence is needed “to afford adequate deterrence to criminal conduct” by

others. 18 U.S.C. § 3553(a)(2)(B). The need to deter others is especially strong in cases involving

domestic terrorism, which the breach of the Capitol certainly was.12 The demands of general

deterrence weigh strongly in favor of incarceration, as they will for nearly every case arising out

of the violent riot at the Capitol. The need for the sentence to provide specific deterrence to this

particular defendant also weighs heavily in favor of a lengthy term of incarceration.

         As the Court explained during the sentencings of Luke Bender and Landon Mitchell, “[i]t

is, to me, very important for both specific deterrence and general deterrence that people know, if

they are illegally on the Senate Floor and you are caught, you do go to jail, particularly in the midst

of a riot when you are interrupting a constitutionally mandated process necessary for the peaceful

transfer of power.” Id. at 109. Furthermore, Carnell’s actions became violent in and around the

East Rotunda Doors. Therefore, a sentence of imprisonment thus is essential to promote the

deterrence factor set forth in Section 3553(a)(2)(B).

         E.      Unwarranted Sentencing Disparities

         Section 3553(a)(6) of Title 18 directs a sentencing court to “consider … the need to avoid

unwarranted sentence disparities among defendants with similar records who have been found

guilty of similar conduct” (emphasis added). So long as the sentencing court “correctly calculate[s]

and carefully review[s] the Guidelines range, [it] necessarily [gives] significant weight and

consideration to the need to avoid unwarranted disparities” because “avoidance of unwarranted


12
     See 18 U.S.C. § 2331(5) (defining “domestic terrorism”).
                                                  30
     Case 1:23-cr-00139-BAH           Document 110        Filed 05/31/24      Page 31 of 39




disparities was clearly considered by the Sentencing Commission when setting the Guidelines

ranges.” Gall v. United States, 552 U.S. 38, 54 (2007).

       Section 3553(a)(6) does not limit the sentencing court’s broad discretion “to impose a

sentence sufficient, but not greater than necessary, to comply with the purposes” of sentencing. 18

U.S.C. § 3553(a). After all, the goal of minimizing unwarranted sentencing disparities in Section

3553(a)(6) is “only one of several factors that must be weighted and balanced,” and the degree of

weight is “firmly committed to the discretion of the sentencing judge.” United States v. Coppola,

671 F.3d 220, 254 (2d Cir. 2012). The “open-ended” nature of the Section 3553(a) factors means

that “different district courts may have distinct sentencing philosophies and may emphasize and

weigh the individual § 3553(a) factors differently; and every sentencing decision involves its own

set of facts and circumstances regarding the offense and the offender.” United States v. Gardellini,

545 F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district courts can and will sentence

differently—differently from the Sentencing Guidelines range, differently from the sentence an

appellate court might have imposed, and differently from how other district courts might have

sentenced that defendant.” Id. at 1095. “As the qualifier ‘unwarranted’ reflects, this provision

leaves plenty of room for differences in sentences when warranted under the circumstances.”

United States v. Brown, 732 F.3d 781, 788 (7th Cir. 2013).13




13
   If anything, the Guidelines ranges in Capitol siege cases are more likely to understate than
overstate the severity of the offense conduct. See United States v. Knutson, 22-cr-31 (FYP),
Sentc’g Tr. 8/26/22 at 24-25 (“If anything, the guideline range underrepresents the seriousness of
[the defendant’s] conduct because it does not consider the context of the mob violence that took
place on January 6th of 2021.”) (statement of Judge Pan).

                                                31
     Case 1:23-cr-00139-BAH           Document 110       Filed 05/31/24      Page 32 of 39




       Although all the other defendants discussed below participated in the Capitol breach on

January 6, 2021, many salient differences explain the differing recommendations and sentences.14

While no previously sentenced case contains the same balance of aggravating and mitigating

factors present here, the conduct in the following cases provide suitable comparisons to the

relevant sentencing considerations in this case.

       The most apt comparator to Carnell is his co-defendant, Bowman. Although Bowman’s

pre and post January 6 statements were more inflammatory than Carnell’s, Carnell’s overall

conduct, and his conduct on the day itself especially, was more aggravating. First, it was Carnell

who instigated the trip to D.C. for January 6. He was the one who forwarded to the group a message

referencing “flooding” D.C. “with Patriots who will loudly tell Congress #DoNotCertify on

#Jan6!” Then, on January 6, Carnell more actively participated in overtaking the Capitol Building:

he took videos and/or photos and was visibly excited when officers were overwhelmed in the

Crypt; he enthusiastically joined a “treason” chant while pumping his fist just inside the East

Rotunda Doors; he physically pushed other rioters who were pushing officers to attempt to re-open

the East Rotunda Doors; then, he cheered once the mob succeeded in getting those doors re-

opened; and, finally, after entering onto the Senate floor, he actively reviewed documents relating

to the Electoral College vote count and discussed them with other rioters. Carnell participated in

and threatened violence on that day. In addition, following January 6, Bowman was cooperative


14
   A routinely updated table providing additional information about the sentences imposed on
other Capitol breach defendants is available here: https://www.justice.gov/usao-dc/capitol-breach-
cases.To reveal that table, click on the link “SEE SENTENCES HANDED DOWN IN CAPITOL
BREACH CASES.” The table shows that imposition of the government’s recommended sentence
in this case would not result in an unwarranted sentencing disparity.
                                                   32
      Case 1:23-cr-00139-BAH           Document 110         Filed 05/31/24      Page 33 of 39




and aided the government by admitting his conduct and identifying his co-defendant in December

2022, before any charges were filed. Carnell was not cooperative. For this reason, his conduct was

more aggravating than his co-defendant’s. The government therefore has requested a 15-month

sentence for Bowman and an 18-month sentence for Carnell.

       Other than his co-defendant, Carnell’s case is most analogous to that of January 6 defendant

Luke Bender. See United States v. Bender, 21-cr-508 (BAH). Like Carnell and Bowman, Bender

and Landon Mitchell were friends who traveled together to the rally on the Ellipse. They marched

to the Capitol, climbed through scaffolding, and trekked through the Capitol before entering the

Senate floor. Bender sat at a senator’s desk and posed for pictures. He also was young– just 20

years old – on January 6, 2021. But there are some differences in the two cases: Bender was in the

Capitol for about half the time as Carnell and was not part of the mob that overwhelmed officers

in the Crypt and near the Rotunda Door. Bender celebrated his own unlawful conduct and that of

others in his social media accounts, and had a Criminal History Category of III due to prior

convictions. Following the events of January 6, Bender deleted photographs from his cell phone.

He also sought lenience at sentencing based upon a spectrum disorder. After Bender was found to

be guilty of six offenses at a stipulated trial, the Court applied a base offense level of 14 to his 18

U.S.C. § 1512(c)(2) conviction, pursuant to U.S.S.G. § 2J1.2(a). Prior to the D.C. Circuit’s Brock

decision, it applied a three-level adjustment for interfering with the administration of justice under

U.S.S.G. § 2J1.2(b)(2). Based on his Criminal History Category of III, Bender’s Guidelines range

was 21 to 27 months. The Court sentenced him a 21-month, term of imprisonment, a three-year

term of supervised release, $2,000 in restitution, and the $180 mandatory special assessment.


                                                  33
     Case 1:23-cr-00139-BAH           Document 110          Filed 05/31/24    Page 34 of 39




       Carnell’s case is also similar to that of Michael Lee Roche. See United States v. Roche, 22-

cr-86 (BAH). Roche entered the Capitol through Parliamentarian door, traveled through the

Building for about 15 minutes, was part of crowd that pushed past officers near North Door

Appointment Desk, and entered Senate floor at 3:03 p.m. He went to Vice President’s desk and

remained in the Senate Chamber for seven minutes. Roche shouted, prayed, and posed for photos

before he was removed from Capitol at 3:10 p.m. Roche thus was in the Capitol for less time than

Carnell, but ascended the dais. Like Carnell, Roche had a Criminal History Category of I. After he

was convicted of six offenses at a stipulated trial, the Court determined that Roche’s total offense

level was 14 (including the § 2J1.2 enhancement invalidated by Brock), resulting in a Guidelines

range of 15 to 21 months’ imprisonment. The Court sentenced Roche to 18 months’ imprisonment,

36 months of supervised release, and $2,000 in restitution. Due to the similarities with Roche, the

Court should depart or vary upwards to sentence Carnell to the same 18 months’ imprisonment,

36 months’ supervised release, and $2,000 in restitution.

       Finally, the Court may wish to consider January 6 defendant Christine Priola. See United

States v. Priola, 22-cr-242 (TSC). There, the defendant pleaded guilty to 18 U.S.C. § 1512(c)(2).

Like Carnell, Priola made her way to the Senate floor. While on the Senate floor, Priola spoke to

an associate by telephone and encouraged that person to come inside either the Capitol building or

into the Senate Chamber, saying it was “now or never.” Sometime before January 13, 2021, Priola

deleted from her cellular telephone photos, videos, chats, and messages regarding her activities on

and around January 6. With a total offense level of 14 and Criminal History Category of I, Priola’s




                                                34
      Case 1:23-cr-00139-BAH          Document 110        Filed 05/31/24      Page 35 of 39




guidelines range was 15 to 21 months, prior to the decision in Brock. Judge Chutkan sentenced her

to 15 months’ incarceration.

        To the extent that the Supreme Court’s forthcoming Fischer decision undermines

Carnell’s felony conviction under 18 U.S.C. § 1512(c), the government would seek a consecutive

sentence of the remaining offenses so that the Court’s sentence would be sufficient, but not greater

than necessary, to comply with the purposes set forth in 18 U.S.C. § 3553(a). That is, the sentence

imposed by the Court still should fully reflect the obstructive conduct of the defendant through the

application of consecutive sentences as permitted by 18 U.S.C. § 3584(b) and U.S.S.G. § 5G1.2(d).

       Accordingly, a sentence of 18 months would not create an unwarranted sentencing

disparity.

   VII.      RESTITUTION

       Under 18 U.S.C. § 3556, a sentencing court must determine whether and how to impose

restitution in a federal criminal case. Because a federal court possesses no “inherent authority to

order restitution,” United States v. Fair, 699 F.3d 508, 512 (D.C. Cir. 2012), it can impose

restitution only when authorized by statute, United States v. Papagno, 639 F.3d 1093, 1096 (D.C.

Cir. 2011). First, the Victim and Witness Protection Act of 1982 (“VWPA”), Pub. L. No. 97-291

§ 3579, 96 Stat. 1248 (now codified at 18 U.S.C. § 3663), “provides federal courts with

discretionary authority to order restitution to victims of most federal crimes.” Papagno, 639 F.3d

at 1096; see 18 U.S.C. § 3663(a)(1)(A) (Title 18 offenses subject to restitution under the VWPA).

Second, the Mandatory Victims Restitution Act (“MVRA”), Pub. L. No. 104-132 § 204, 110

Stat. 1214 (codified at 18 U.S.C. § 3663A), “requires restitution in certain federal cases


                                                35
      Case 1:23-cr-00139-BAH            Document 110         Filed 05/31/24    Page 36 of 39




involving a subset of the crimes covered” in the VWPA. Papagno, 639 F.3d at 1096. The

MVRA applies to certain offenses including those “in which an identifiable victim or victims has

suffered a physical injury or pecuniary loss,” 18 U.S.C. § 3663A(c)(1)(B), a “crime of violence,”

§ 3663A(c)(1)(A)(i), or “an offense against property … including any offense committed by fraud or

deceit,” § 3663A(c)(1)(A)(ii). See Fair, 699 F.3d at 512 (citation omitted).

        The applicable procedures for restitution orders issued and enforced under these two

statutes is found in 18 U.S.C. § 3664. See 18 U.S.C. § 3556 (directing that sentencing court “shall”

impose restitution under the MVRA, “may” impose restitution under the VWPA, and “shall” use

the procedures set out in Section 3664).

        Both [t]he VWPA and MVRA require identification of a victim, defined in both statutes as

“a person directly and proximately harmed as a result of” the offense of conviction. Hughey v.

United States, 495 U.S. 411, 418 (1990) (interpreting the VWPA). Both statutes identify similar

covered costs, including lost property and certain expenses of recovering from bodily injury. See

Papagno, 639 F.3d at 1097-97; 18 U.S.C. §§ 3663(b), 3663A(b). Finally, under both the statutes,

the government bears the burden by a preponderance of the evidence to establish the amount of

loss suffered by the victim. United States v. Bikundi, 926 F.3d 761, 791 (D.C. Cir. 2019).

        In deciding whether to impose restitution under the VWPA, the sentencing court must take

account of the victim’s losses, the defendant’s financial resources, and “such other factors as the

court deems appropriate.” United States v. Williams, 353 F. Supp. 3d 14, 23-24 (D.D.C. 2019)

(quoting 18 U.S.C. § 3663(a)(1)(B)(i)). The MVRA, by contrast, requires imposition of full




                                                   36
      Case 1:23-cr-00139-BAH           Document 110         Filed 05/31/24    Page 37 of 39




restitution without respect to a defendant’s ability to pay.15

       Because the defendant in this case engaged in criminal conduct in tandem with hundreds

of other defendants charged in other January 6 cases, and [his or her] criminal conduct was a

“proximate cause” of the victims’ losses if not a “cause in fact,” the Court has discretion to

apportion restitution and hold the defendant responsible for [his] individual contribution to the

victims’ total losses. See Paroline v. United States, 572 U.S. 434, 458 (2014) (holding that in

aggregate causation cases, the sentencing court “should order restitution in an amount that

comports with the defendant’s relative role in the causal process that underlies the victim’s general

losses”). See also United States v. Monzel, 930 F.3d 470, 476-77, 485 (D.C. Cir. 2019) (affirming

$7,500 in restitution toward more than a $3 million total loss, against a defendant who possessed

a single pornographic image of the child victim; the restitution amount was reasonable even though

the “government was unable to offer anything more than ‘speculation’ as to [the defendant’s]

individual causal contribution to [the victim’s] harm”; the sentencing court was not required to

“show[] every step of its homework,” or generate a “formulaic computation,” but simply make a

“reasoned judgment.”); cf. 18 U.S.C. § 3664(h) (“If the court finds that more than 1 defendant has

contributed to the loss of a victim, the court … may apportion liability among the defendants to

reflect the level of contribution to the victim’s loss and economic circumstances of each

defendant.”).

       More specifically, the Court should require Carnell to pay $2,000 in restitution for his


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   Both statutes permit the sentencing court to decline to impose restitution where doing so will
 “complicat[e]” or “prolong[]” the sentencing process. See 18 U.S.C. §§ 3663(a)(1)(B)(ii),
 3663A(c)(3)(B).
                                                  37
     Case 1:23-cr-00139-BAH           Document 110         Filed 05/31/24      Page 38 of 39




convictions on Counts One through Six. This amount fairly reflects Carnell’s role in the offense

and the damages resulting from his conduct. Moreover, in cases where the parties have entered

into a guilty plea agreement, two thousand dollars has consistently been the agreed upon amount

of restitution and the amount of restitution imposed by judges of this Court where the defendant

was not directly and personally involved in damaging property. Accordingly, such a restitution

order avoids sentencing disparity.

   VIII. FINE

       The defendant’s convictions for violations of Section 1512(c)(2), among other crimes,

subject him to a statutory maximum fine of $55,000. See 18 U.S.C. § 3571(b). In determining

whether to impose a fine, the sentencing court should consider the defendant’s income, earning

capacity, and financial resources. See 18 U.S.C. § 3572(a)(1); See U.S.S.G. § 5E1.2(d). The

sentencing guidelines provide for a fine in all cases, except where the defendant establishes that

he is unable to pay and is not likely to become able to pay any fine. U.S.S.G. § 5E1.2(a), (e) (2023).

       The burden is on the defendant to show present and prospective inability to pay a fine. See

United States v. Gewin, 471 F.3d 197, 203 (D.C. Cir. 2006) (explaining that “it makes good sense

to burden a defendant who has apparently concealed assets” to prove that “he has no such assets

and thus cannot pay the fine”); United States v. Lombardo, 35 F.3d 526, 528 (11th Cir. 1994).

       Here, according to the PSI, the defendant has the ability to pay a “nominal” fine. See PSI

¶ 107. Thus pursuant to the considerations outlined in U.S.S.G. § 5E1.2(d), the Court has authority

to impose a fine. § 5E1.2(a), (e).




                                                 38
     Case 1:23-cr-00139-BAH           Document 110       Filed 05/31/24     Page 39 of 39




   IX.      CONCLUSION

         For the reasons set forth above, the government recommends that the Court depart or vary

upward to sentence Christopher Carnell to 18 months of incarceration; three years of supervised

release; $2,000 in restitution; a nominal fine; and a $180 mandatory special assessment.

                                                     Respectfully submitted,

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                                                39
